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                                          IN THE UNITED STATES BANUPTCY COURT

                                                 FOR THE DISTRICT OF DELAWAR

In re:                                                                  )    Chapter 11
                                                                        )
W. R. GRACE & CO., et al., 1                                            )    Case No. 01-1139 (JK)
                                                                        )    Jointly Administered
                                          Debtors.                      )

                                                       Objection Deadline: June 4,2008 at 4:00 p.m. (prevailng Eastern time)
                                                      Hearing Date: September 29, 2008 at 1:00 p.m. (prevailng Eastern time)

                NOTICE OF QUARTERLY VERIFIED FEE APPLICATION OF
              CASNER & EDWARS, LLP FOR COMPENSATION FOR SERVICES
              AND REIMBURSEMENT OF EXPENSES AS SPECIAL LITIGATION
            COUNSEL TO W.R. GRACE & CO., ET AL., FOR THE TWENTY-EIGHTH
            INTERIM PERIOD FROM JANUARY 1.2008 THROUGH MACH 31. 2008
To: (1) The Debtors; (2) Offce of                                   the United States Trustee; (3) Counsel to the Offcial
             Committee of                 Unsecured Creditors; (4) Counsel to the Offcial Committee of             Personal
             Inur Claimants; (5) Counsel to the Official Committee of                          Property Damage Claimants;
             (6) Counsel to the debtor-in-possession lenders (the "DIP Lenders"); and (7) Counsel to
             the Official Committee of Equity Holders.

                           Casner Edwards, LLP, special litigation counsel to the above-captioned debtors

and debtors in possession in the above-captioned cases (the "Debtors"), has filed and served the

Quarterly Verifed Fee Application of Casner & Edwards, LLP for Compensation for Services

and Reimbursement of Expenses as Special Litigation Counsel to WR. Grace & Co., et al., for
i The Debtors consist of
                                    the foIlowing 62 entities: W. R. Grace & Co. (fJa Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (fJa
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (fJa Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (fJa Grace Cocoa Limited Parters I, Inc.), G C Management, Inc. (fJa Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinar Systems, Inc., Grace
Driling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (fJa Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (fJa GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (fJa Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (fJa Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (fJa British Nursing Association,
Inc.), Remedium Group, Inc. (fJa Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parers (fJa Cross
Countr Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




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 the Twenty-Eighth Interim Periodfrom Debtors/or the Period/rom January 1,2008 through

March 31, 2008, seeking fees in the amount of$42,785.50 and expenses in the amount of

 $39,275.71 (the "Fee Application").

                           Objections or responses to the Fee Application, if any, must be made in wrting,

filed with the United States Banptcy Court for the Distrct of                       Delaware (the "Banptcy

Cour"), 824 Market Street, Wilmington, Delaware 19801, on or before June 4, 2008, at

4:00 p.m.


                           At the same time, you must also serve a copy ofthe objections or responses, if

any, upon the following: (i) co-counsel for the Debtors, Janet S. Baer, Kirkland & Ells LLP,

200 East Randolph Drive, Chicago, Ilinois 60601 (fax number 312-861-2200), and Laura Davis

Jones, Esquire, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 1 ih Floor, P.O.

Box 8705, Wilmington, Delaware 19899-8705 (Courer 19801) (fax number 302-652-4400); (ii)

counsel to the Offcial Committee of                        Unsecured Creditors, Lewis Krger, Esquire, Stroock &

Stroock & Lavan, 180 Maiden Lane, New York, New York 10038-4982 (fax number 212-806-

6006), and Michael R. Lastowski, Esquire, Duane, Morrs & Heckscher, LLP, 1100 N. Market

Street, Suite 1200, Wilmington, Delaware 19801-1246 (fax number 302-657-4901); (iii) counsel

to the Official Committee of                 Property Damage Claimants, Scott L. Baena, Esquire, Bilzin,

Sumberg, Dun, Baena, Price & Axelrod, First Union Financial Center, 200 South Biscayne

Boulevard, Suite 2500, Miami, Florida 33131 (fax number 305-374-7593), and Michael B.

Joseph, Esquire, Ferr & Joseph, P.A., 824 Market Street, Suite 904, P.O. Box 1351,

Wilmington, Delaware 19899 (fax number 302-575-1714); (iv) counsel to the Offcial




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Committee of            Personal Injury Claimants, Elihu Inselbuch, Esquire, Caplin & Drysdale, 399 Park

Avenue, 36th Floor, New York, New York 10022 (fax number 212-644-6755), and Marla Eskin,

Esquire, Campbell & Levine, LLC, Chase Manattan Centre, 15th Floor, 1201 Market Street,

Suite 1500, Wilmington, Delaware 19801 (fax number 302-426-9947); (v) counsel to the DIP

Lenders, J. Douglas Bacon, Esquire, Latham & Watkins, Sears Tower, Suite 5800, Chicago,

Ilinois 60606 (fax number 312-993-9767), and Steven M. Yoder, Esquire, The Bayard Firm,


222 Delaware Avenue, Suite 900, P.O. Box 25130, Wilmington, Delaware 19899 (fax number

302-658-6395); (vi) the Office ofthe United States Trustee, Attn: Frank J. Perch, Esquire, 844 N.

King Street, Wilmington, Delaware 19801 (fax number 302-573-6497); (vii) counsel to the

Official Committee of                Equity Holders, Thomas M. Mayer, Esquire, Kramer Levin Naftalis &

Franel LLP, 919 Third Avenue, New York, New York 10022 (fax number 212-715-8000); and

(viii) co-counsel to the Offcial Committee of                   Equity Holders, Teresa K.D. Currer, Esquire,


Klett, Rooney, Lieber, & Schorling, 100 West Street, Suite 1410, Wilmington, Delaware 19801.




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                        A HEARG ON THE FEE APPLICATION WILL BE HELD BEFORE THE

HONORALE JUITH K. FITZGERAD ON SEPTEMBER 29,2008 AT 1 :00 P.M.

Dated: May 15, 2008                       KILAN & ELLIS LLP
                                          David M Bernck P.C.
                                          Janet S. Baer
                                          200 East Randolph Drive
                                          Chicago, IL 60601
                                          (312) 861-2000

                                          -and-
                                          PACHULSKI STANG ZIEHL & JONES LLP



                                          LaurDa:l~es;~ ~
                                          James E. O'Neil (Bar No. 4042)
                                          Timothy P. Cairns (Bar No. 4228)
                                          919 North Market Street, 17th Floor
                                          P.O. Box 8705
                                          Wilmington, Delaware 19899-8705 (Courer 19801)
                                          Telephone: (302) 652-4100
                                          Facsimile: (302) 652-4400

                                          Co-Counsel for Debtors and Debtors in Possession




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